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                                                                                                                 E-FILED
                                                                         Monday, 25 September, 2017 02:46:28 PM
                                                                                     Clerk, U.S. District Court, ILCD


                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                   ROCK ISLAND DIVISION

BRYAIN YOUNG                                       )
                                                   )
                 Plaintiff,                        )
                                                   )
                                                   )                17-CV-1269
        vs.                                        )
                                                   )
MELVIN, et al.,                                    )
                                                   )
                 Defendants.                       )

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

        NOW COME Defendants RANDALL MEISTER, MICHAEL MELVIN, and SUSAN

PRENTICE ("Defendants"), by Lisa Madigan, Attorney General of the State of Illinois, and for

their response to Plaintiff’s Complaint, state as follows:

       ALLEGATIONS ENUMERATED IN COURT ORDER DATED July 26, 20171

        1.       The plaintiff filed this lawsuit pursuant to 42 U.S.C. § 1983, alleging violation of

his Eighth Amendment right against cruel and unusual punishment.

        RESPONSE: Defendants admit that Plaintiff filed his lawsuit pursuant to 42 U.S.C.

§ 1983. Defendants deny the remaining allegations in this paragraph.

        2.       Plaintiff alleges the showers at Pontiac contained insects, mildew, lime soaps

(“soap scum”), trash, human saliva, urine, and excrement. In addition, he alleges the showers did

not drain properly because the drains were covered with blankets and replete with hair and debris.

        RESPONSE: Defendants deny the allegations contained in this paragraph.




1
  Pursuant to this Court’s Merit Review and Case Management Order [Doc. 9] and local rule 16.3(E)(2), CDIL-LR,
the issues and claims will be limited to those identified in the Merit Review Opinion.
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           3.    Plaintiff alleges the showers were seldom, if ever, cleaned between 2015 and 2017,

despite Pontiac’s policy requiring both the use of bleach solution to clean all high-traffic areas and

the availability of spray bottles with the bleach solution to clean showers between uses.

           RESPONSE: Defendants deny the allegations contained in this paragraph.

           4.    Plaintiff alleges that prisoners, on multiple occasions, brought their sanitation

concerns to the attention of prison officials to no avail.

           RESPONSE: Defendants lack knowledge or information sufficient to form a belief

about the truth of the allegations.

           5.    Plaintiff alleges that when he and other prisoners requested spray bottles to clean

the showers themselves, prison officials told them that there were none or to file a grievance.

           RESPONSE: Defendants lack knowledge or information sufficient to form a belief

about the truth of the allegations.

           6.    Plaintiff also filed grievances about the conditions, but the process yielded no

results.

           RESPONSE: Defendants deny the allegations in this paragraph.

           7.    Plaintiff alleges he developed fungal infections on his feet and groin, blackened

toenails, and dry feet as a result of the alleged shower conditions.

           RESPONSE: Defendants lack knowledge or information sufficient to form a belief

about the truth of the allegations.

           8.    When he sought medical treatment in December 2016, Plaintiff alleges Defendant

Jade prescribed tolnaftate powder, an anti-fungal medication.
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       RESPONSE: Defendants, per recorded documentation, admit that Plaintiff sought

medical treatment in December 2016, Defendants lack knowledge or information sufficient

to form a belief about the truth of the remaining allegations.

       9.      Plaintiff applied the medication to no avail. Plaintiff alleges Defendant Tracey then

prescribed tolnaftate cream; the results were the same.

       RESPONSE: Defendants lack knowledge or information sufficient to form a belief

about the truth of the allegations.

       10.     On February 21, 2017, Plaintiff alleges Defendant Chrissy referred him to Defendant

Tilden. Plaintiff alleges Defendant Tilden prescribed him tolnaftate cream for three months and1

informed Plaintiff that he should have been prescribed the same regimen initially. Plaintiff alleges

he received his tolnaftate prescription monthly—but only enough to last a week.

       RESPONSE: Defendants lack knowledge or information sufficient to form a belief

about the truth of the allegations.



                                      REQUESTED RELIEF

       Defendants deny that Plaintiff is entitled to any relief whatsoever.

                                        JURY DEMAND

       Defendants request a trial by jury in this matter.

                                 AFFIRMATIVE DEFENSES

       1.      To the extent that Plaintiff is suing Defendants in their official capacity, Eleventh

Amendment and sovereign immunity bar such claims.
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       2.      To the extent Plaintiff is suing Defendants for injunctive relief that is not intended

to address ongoing constitutional violations, the Eleventh Amendment and sovereign immunity

bar such claims.

       3.      To the extent that Plaintiff has failed to exhaust all available administrative

remedies, his claims are barred by the Prison Litigation Reform Act. 42 U.S.C. § 1997e(a).

       4.      At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are, therefore, protected from

suit by the doctrine of qualified immunity.

       WHEREFORE, for the above and foregoing reasons, Defendants respectfully requests that

this honorable Court deny Plaintiff’s requested relief and enter judgment in their favor.

                                                       Respectfully submitted,

                                                       RANDALL MEISTER, MICHAEL MELVIN
                                                       and SUSAN PRENTICE,

                                                               Defendants,

R. Levi Carwile, #6317375                              LISA MADIGAN, Attorney General
Assistant Attorney General                             State of Illinois
500 South Second Street
Springfield, IL 62701                                          Attorney for Defendants,
(217) 557-0261 Phone
(217) 524-5091 Fax                                     By: s/ R. Levi Carwile
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                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                 ROCK ISLAND DIVISION

BRYAIN YOUNG                                 )
                                             )
               Plaintiff,                    )
                                             )
                                             )              17-CV-1269
       vs.                                   )
                                             )
MELVIN, et al.,                              )
                                             )
               Defendants.                   )

                                CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2017, the foregoing document, Defendants' Answer
and Affirmative Defenses, was electronically filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to the following:

                                             NONE

and I hereby certify that on the same date, I caused a copy of the same to be mailed by United
States Postal Service, in an envelope, properly addressed and fully prepaid, to the following non-
registered participant:

                                   Bryain Young, #B-23205
                                  Pontiac Correctional Center
                                     Inmate Mail/Parcels
                                    700 W. Lincoln Street
                                          PO Box 99
                                      Pontiac, IL 61764

                                                    Respectfully submitted,

                                                    s/ R. Levi Carwile
                                                    R. Levi Carwile, #6317375
                                                    Assistant Attorney Generalk
                                                    General Law Bureau
                                                    Office of the Attorney General
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